
668 S.E.2d 345 (2008)
STATE of North Carolina
v.
Cedric Lamont HARRIS.
No. 317P08.
Supreme Court of North Carolina.
October 9, 2008.
M. Gordon Widenhouse, Jr., Chapel Hill, for Cedric Lamont Harris.
Sandra Wallace-Smith, Assistant Attorney General, Seth Edwards, District Attorney, for State.

ORDER
Upon consideration of the petition filed on the 7th day of July 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
